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                                                          U.S. Department of Justice

                                                          Channing D. Phillips
                                                          Acting United States Attorney

                                                          District of Columbia


                                                          Judiciary Center
                                                          555 Fourth St., N.W.
                                                          Washington, D.C. 20530


                                                      June 16, 2021


Danielle Courtney Jahn
Assistant Federal Public Defender for the District of Columbia
625 Indiana Ave, NW, Suite 500
Washington, DC 20004


        Re:      United States v. Dale Jeremiah Shalvey
                 Case No. 1:21-cr-00334 TJK

Dear Ms. Jahn:

        This letter summarizes the preliminary discovery that has been served by USAFx in this
case:

              a. Defendant’s interview with the FBI
                     i. produced on May 4, 2021

              b. Body worn camera of Officer McAllister that captures defendant throwing an
                 object at law enforcement on January 6, 2021
                     i. produced on May 4, 2021;

              c. Body worn camera of Officer Farley that captures defendant throwing an object at
                 law enforcement on January 6, 2021
                     i. produced on May 4, 2021
              d. Image of Senator Mitt Romney’s letter to former Vice President Pence
                     i. Produced on May 4, 2021
              e. Image of defendant riffling through a desk of a Senator on the Senate floor
                     i. Produced on May 4, 2021
              f. Criminal Complaint
                     i. Produced on May 4, 2021
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           g. 5 videos of the Senate Floor on January 6, 2021, some of which capture defendant
              on camera
                   i. produced on June 16, 2021;
                  ii. Those file names are shown below --




        Due to the extraordinary nature of the January 6, 2021 Capitol Attack, the government
anticipates that a large volume of materials may contain information relevant to this prosecution.
These materials may include, but are not limited to, surveillance video, statements of similarly
situated defendants, forensic searches of electronic devices and social media accounts of
similarly situated defendants, and citizen tips. The government is working to develop a system
that will facilitate access to these materials. In the meantime, please let me know if there are any
categories of information that you believe are particularly relevant to your client.

       Please contact me if you have any issues accessing the information, and to confer
regarding pretrial discovery as provided in Fed. R. Crim. P. 16.1.



         I recognize the government’s discovery obligations under Brady v. Maryland, 373 U.S.
83 (1963), its progeny, and Rule 16. I will provide timely disclosure if any such material comes
to light. Consistent with Giglio, Ruiz, and 18 U.S.C. § 3500, I will provide information about
government witnesses prior to trial and in compliance with the court’s trial management order.

        I request reciprocal discovery to the fullest extent provided by Rule 16 of the Federal
Rules of Criminal Procedure, including results or reports of any physical or mental examinations,
or scientific tests or experiments, and any expert witness summaries. I also request that
defendant disclose prior statements of any witnesses defendant intends to call to testify at any
hearing or trial. See Fed. R. Crim. P. 26.2; United States v. Nobles, 422 U.S. 255 (1975). I
request that such material be provided on the same basis upon which the government will
provide defendant(s) with materials relating to government witnesses.


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        Additionally, pursuant to Federal Rules of Criminal Procedure 12.1, 12.2, and 12.3, I
request that defendant(s) provide the government with the appropriate written notice if defendant
plans to use one of the defenses referenced in those rules. Please provide any notice within the
time period required by the Rules or allowed by the Court for the filing of any pretrial motions.

        I will forward additional discovery as it becomes available. If you have any questions,
please feel free to contact me.

                                                    Sincerely,


                                                    /s/ Anthony L. Franks
                                                    Anthony L. Franks
                                                    Assistant United States Attorney




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